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Label Matrix for local noticing      Chilaquiles Factory, 12
                                                          LLC            U.S. BANKRUPTCY COURT
0542-1                                        911 Cricket Cv                      903 SAN JACINTO, SUITE 322
Case 22-10170-hcm                             Cedar Park, TX 78613-3443           AUSTIN, TX 78701-2450
Western District of Texas
Austin
Thu Mar 17 17:07:14 CDT 2022
Armstrong Buttercup Creek, L.P.               Atmos Energy                        Cintas Corporation
c/o DT Land Group, Inc.                       P.O. Box 650654                     PO Box 650838
2414 Exposition Blvd Ste D200                 Dallas, TX 75265                    Dallas, TX 75265-0838
Austin, TX 78703-2276


(p)TEXAS COMPTROLLER OF PUBLIC ACCOUNTS       Cozzini Brothers                    (p)DIRECTV LLC
REVENUE ACCOUNTING DIV - BANKRUPTCY SECTION   4500 N Sam Houston Pkwy W Ste 170   ATTN BANKRUPTCIES
PO BOX 13528                                  Houston, TX 77086-1474              PO BOX 6550
AUSTIN TX 78711-3528                                                              GREENWOOD VILLAGE CO 80155-6550


Ecolab, Inc.                                  Fiesta Tortillas                    Impact Finance
PO Box 70343                                  3800 Promontory Point Dr            Po Box 515119
Chicago, IL 60673-0343                        Austin, TX 78744                    Dallas, TX 75251-5119



JPMorgan Chase Bank, N.A.                     Jlozano Produce                     Kristy Cortez
PO Box 182051                                 1500 S. Zarzamora St Unit 428       3600 W Parmer Ln Ste 105
Jeffersonville, OH 43128                      San Antonio, TX 78207-7209          Austin, TX 78727-4111



Mood Texas                                    (p)NAVITAS CREDIT CORP              Nuco2
PO Box 117                                    ATTN JOYCE MCKULKA                  PO Box 9011
San Antonio, TX 78291-0117                    201 EXECUTIVE CENTER DR SUITE 100   Stuart, FL 34995-9011
                                              COLUMBIA SC 29210-8410


Olga Bradley                                  Pedernales Electric Coop            People Fund
911 Cricket Cove                              P.O. Box 1                          P.O. Box 201940
Cedar Park, TX 78613-3443                     Johnson City, TX 78636-0001         Dallas, TX 75320-1940



Pepsi Co                                      Pro Ice Solutions                   SimpliSafe
9101 Wall Street                              100 E. Whitestone Falls Pkwy        294 Washington Street 9th Fl
Austin, TX 78754-4540                         Cedar Park, TX 78613                Boston, MA 02108-4634



Spectrum Business                             Spothopper                          Truist
PO Box 460849                                 7330 W. Greenfield Avenue Ste 205   214 N. Tryon St
San Antonio, TX 78246-0849                    Milwaukee, WI 53214-4745            Charlotte, NC 28202-1078



Twin Liquors                                  United States Trustee - AU12        Waste Management, Inc
519 E. 7th Street                             United States Trustee               800 Capitol St Ste 3000
Austin, TX 78701-3318                         903 San Jacinto Blvd, Suite 230     Houston, TX 77002-2945
                                              Austin, TX 78701-2450
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Williamson Co. Tax Ass-Coll          Xtrachef      12                    Stephen W. Sather
710 S. Main Street                                   135 W 29th St Fl 12                                  Barron & Newburger, PC
Georgetown, TX 78626-5703                            New York, NY 10001-5152                              7320 N MoPac Expy, Suite 400
                                                                                                          Austin, TX 78731-2347




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Comptroller of Public Accounts                       DIRECTV                                              Navitas Credit Corp
Rev. Acctg. Sec.--Bkr Div.                           PO Box 78626                                         Attn: Bankruptcy Dept.
Po Box 13528                                         Phoenix, AZ 85062                                    203 Fort Wade Rd Unit 300
Austin, TX 78711-3528                                                                                     Ponte Vedra, FL 32081-5159


End of Label Matrix
Mailable recipients    32
Bypassed recipients     0
Total                  32
